                                                    STATE OF NEW YORK
                                              OFFICE OF THE ATTORNEY GENERAL

     LETITIA J AMES                                                                                      DIVISION OF STATE COUNSEL
    ATTORNEY GENERAL                                                                                          LITIGATION BUREAU



                                                February 15, 2022
BY ECF
Hon. Eric R. Komitee
United States District Court, Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                 Re:        Sabino v. Ogle, 20-CV-5861 (EK) (JRC)

Dear Judge Komitee:

        This Office represents Defendant in this case, retired Senior Parole Officer James Ogle of the New York
State Department of Corrections and Community Supervision (“DOCCS”). At the pre-motion conference on
February 9, 2022, the Court ordered that Defendant file this letter and submit the notification informing the New
York City Department of Correction (“City DOC”) that the parole warrant was vacated, describe the mechanism
for delivering that letter, and, to the best of Defendant’s ability, identify whether there were any other causes of
Plaintiff’s detention in the summer of 2019. The Court further ordered Defendant to mail and hand-deliver a copy
of all pre-motion filings and orders to Plaintiff by February 16, 2022. Copies of Docket Nos. 13, 14, 16, and 18 1
will accordingly be sent to Plaintiff along with this letter and its enclosures by U.S. Mail and hand delivery.

       Enclosed is a copy of the standard letter that DOCCS sends to City DOC whenever a preliminary parole
revocation hearing is completed. It states that no probable cause was found at Plaintiff’s preliminary parole
revocation hearing on June 19, 2019, and that the parole warrant had been “lifted” i.e., vacated. That letter is
dated June 19, 2019. On information and belief, based on discussion with DOCCS employees, that letter is
normally sent via e-mail Regarding the possibility of alternative causes of detention in the summer of 2019,
Defendant has inquired with City DOC, but has received nothing responsive to that question as of this date.2
There were no other State DOCCS holds. Defendant reserves the right to update this if further information is
subsequently discovered.

                                                               Respectfully submitted,
                                                               /s/ David T. Cheng_______
                                                               David T. Cheng
                                                               Assistant Attorney General
                                                               David.Cheng@ag.ny.gov
1
 Docket Nos. 15 and 17 are not included because they are Plaintiff’s own filings.
2
 City DOC provided Plaintiff’s movement history in response, but that fails to answer the question asked. Followup clarifying what
was needed has received no response as of yet.

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Enclosures

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